                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
STEVE KLEIN, individually and on behalf   )
of all others similarly situated,         )
                                          )                   Civil Case No.
                Plaintiffs,               )                   19-11356-FDS
                                          )
                v.                        )
                                          )
BOSTON SCIENTIFIC CORPORATION,            )
MICHAEL F. MAHONEY, and DANIEL J.         )
BRENNAN,                                  )
                                          )
                Defendants.               )
__________________________________________)

    ORDER APPOINTING LEAD PLAINTIFF AND APPROVING LEAD COUNSEL

SAYLOR, J.

       The Court having considered the motions for appointment of lead plaintiff and approval

of lead counsel, it is hereby ordered as follows:

       1.      The Court hereby appoints Steve Klein as lead plaintiff in this action. Klein

appears to satisfy the requirements for lead plaintiff set forth in 15 U.S.C. § 78u-4(a)(3)(B)(iii),

the Private Securities Litigation Reform Act of 1995 (“PSLRA”).

       2.      Lead plaintiff, pursuant to the PSLRA, has selected and retained Pomerantz LLP

as lead counsel and Andrews DeValerio LLP as liaison counsel for the class.

       3.      Lead counsel shall have the following responsibilities and duties, to be carried out

either personally or through counsel whom lead counsel shall designate:

               (a)     to coordinate the briefing and argument of motions;

               (b)      to coordinate and direct discovery proceedings, including coordinating the

                       examination of witnesses in depositions;
                 (c)    to coordinate the selection of counsel to act as a spokesperson at pretrial

                        conferences;

                 (d)    to call meetings of the plaintiffs’ counsel as may be deemed necessary and

                        appropriate from time to time;

                 (e)    to coordinate settlement negotiations with counsel for defendants;

                 (f)    to coordinate and direct preparation for trial and the trial of this matter and

                        to delegate work responsibilities to selected counsel as may be required;

                        and

                 (g)    to supervise any other matters concerning the prosecution, resolution, or

                        settlement of this matter.

        4.       No motion, request for discovery, or other pretrial proceedings shall be initiated

or filed by any plaintiffs without the participation and approval of lead counsel. No settlement

negotiations shall be conducted without the participation and approval of lead counsel.

        5.       Counsel in any related action that is consolidated with this action shall be subject

to this order.

        6.       Lead counsel shall have the responsibility of ensuring that court orders and

notices are made available to appropriate counsel.

        7.       To the extent that defendants are effecting service of papers on plaintiffs by

overnight mail service or hand delivery, defendants may do so by serving lead counsel.

        8.       During the pendency of this litigation, or until further order of the Court, the

parties shall take reasonable steps to preserve all documents within their possession, custody, or

control, including computer-generated and stored information, and materials such as




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computerized data and electronic mail, containing information which is relevant or which may

lead to the discovery of information relevant to the subject matter of the pending litigation.

So Ordered.


                                                      /s/ F. Dennis Saylor IV
                                                      F. Dennis Saylor IV
Dated: July 17, 2019                                  United States District Judge




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